                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     at CHATTANOOGA

 UNITED STATES OF AMERICA                               )
                                                        )       Case No. 1:15-cr-52-HSM-SKL
                                                        )
 v.                                                     )
                                                        )
 JAMES SAMUEL LINDSAY                                   )

                                              ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the six-count

 Indictment (2) accept Defendant’s plea of guilty to the lesser offense of the charge in Count One of

 the Indictment, that is of conspiracy to distribute and possess with intent to distribute five grams or

 more of methamphetamine (actual) and 50 grams or more of a mixture and substance containing

 methamphetamine, in violation of 21 U.S.C. §§ 846 and 841(b)(1)(B); (3) adjudicate Defendant

 guilty of the lesser offense of the charge in Count One of the Indictment, that is of conspiracy to

 distribute and possess with intent to distribute five grams or more of methamphetamine (actual) and

 50 grams or more of a mixture and substance containing methamphetamine, in violation of 21 U.S.C.

 §§ 846 and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) find Defendant shall remain in custody until sentencing in this matter [Doc. 140].

 Neither party filed a timely objection to the report and recommendation. After reviewing the record,

 the Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation [Doc. 140] pursuant

 to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment




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             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser offense of the charge in Count One of the

             Indictment, that is of conspiracy to distribute and possess with intent to distribute five

             grams or more of methamphetamine (actual) and 50 grams or more of a mixture and

             substance containing methamphetamine, in violation of 21 U.S.C. §§ 846 and

             841(b)(1)(B) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser offense of the charge in Count

             One of the Indictment, that is of conspiracy to distribute and possess with intent to

             distribute five grams or more of methamphetamine (actual) and 50 grams or more of

             a mixture and substance containing methamphetamine, in violation of 21 U.S.C.

             §§ 846 and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on January 25, 2016 at 9:00 a.m. [EASTERN] before the

             Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                          /s/Harry S. Mattice, Jr.
                                                          HARRY S. MATTICE, JR.
                                                     UNITED STATES DISTRICT JUDGE




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